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                                                                                                            Exhibit 22
                         G.W., ET AL. vs NORTHBROOK INDUSTRIES, INC.
                                    Karim Vellani on 11/28/2023                                         Pages 82..85
                                                   Page 82                                                      Page 84
·1· ·do.· You know, security officers will often times       ·1· ·on their employees?
·2· ·have what's called a patrol audit system or a guard     ·2· · · · · · ·MR. ALLUSHI:· Objection.· Go ahead.
·3· ·tour system.· That is not something police officers     ·3· · · · A.· ·So my understanding was that most of his
·4· ·typically do.· So there are differences in the way      ·4· ·employees were either known to him or came to him by
·5· ·they approach, you know, whatever the problem is, or    ·5· ·way of referrals from other hotel operators.· So
·6· ·whatever their role is.· So I wouldn't expect the       ·6· ·from those folks, he told me that they did not
·7· ·police officers as a matter of good practice to, you    ·7· ·conduct criminal background checks.· What he told me
·8· ·know, do written daily activity reports, for            ·8· ·on the other folks is that he would do criminal
·9· ·example.                                                ·9· ·background investigations.
10· · · · Q.· ·And your point there about patrol audits      10· · ·BY MR. BOUCHARD:
11· ·actually ties in with a question I was about to ask     11· · · · Q.· ·Your testimony is that he told you that he
12· ·you.· Which is during that time period, did             12· ·would conduct background checks on certain of his
13· ·United Inn require or receive patrol audit              13· ·employees?
14· ·information from the off-duty police officers who       14· · · · A.· ·On people that were not known to him or
15· ·worked from 10:00 p.m. to 2:00 a.m. at the hotel?       15· ·directly referred to him by another hotel operator
16· · · · A.· ·Let's make sure we're talking about the       16· ·or calling someone from one of the associations.
17· ·same thing.· A patrol audit system is basically         17· · · · Q.· ·But you did not see any proof or
18· ·where you've got sensors all over the property that     18· ·documentation of such background checks, is that
19· ·you scan.· Either QR codes, bar codes, something        19· ·correct?
20· ·like that.· Or you've got some kind of GPS tracking     20· · · · · · ·MR. ALLUSHI:· Objection.
21· ·that they use to track where the officers are.· I'm     21· · · · A.· ·No, sir, I did not.· As I explained, you
22· ·not aware of any such system existing in United Inn.    22· ·know, the way background checks are done nowadays,
23· ·It is possible there may have been a system on the      23· ·you can either get a formal report from the
24· ·police officers' patrol cars that allowed for GPS       24· ·background check company or you can -- in some
25· ·tracking.· It is also possible they had some kind of    25· ·instances you can log in to a portal and get access

                                                   Page 83                                                      Page 85
·1· ·GPS tracking on their cell phones.· But I'm not         ·1· ·to the reports without necessarily printing or
·2· ·aware of anything that United Inn required or           ·2· ·saving the report.· Or in some cases you can just go
·3· ·provided in that regard.                                ·3· ·into a county website and go do the background check
·4· · · · Q.· ·During that time period, did United Inn       ·4· ·yourself.
·5· ·have one United Inn employee working at the property    ·5· · ·BY MR. BOUCHARD:
·6· ·from 9:00 p.m. to 6:00 a.m.?                            ·6· · · · Q.· ·During that time period, did United Inn
·7· · · · A.· ·That's my understanding, yes, sir.            ·7· ·pay some of their employees in cash and not retain
·8· · · · Q.· ·During that time period, did United Inn       ·8· ·records of the payments?
·9· ·have one United Inn employee working on the property    ·9· · · · A.· ·I don't know the answer to that, sir. I
10· ·for five hours during the night without any off-duty    10· ·think he testified about that in his deposition.
11· ·police officers also working?                           11· ·But I don't recall exactly what he said.
12· · · · A.· ·Going to make me do my math.· 9:00 to         12· · · · Q.· ·During that time period, did United Inn
13· ·6:00 is what we're talking about.· 9:00 p.m. to         13· ·monitor online reviews about the hotel?
14· ·6:00 a.m. is what we're talking about minus the four    14· · · · A.· ·I think he was asked about that as well.
15· ·hours, right?· So six, seven, eight, nine, minus        15· ·I don't think they did.· I don't have a specific
16· ·four, that's five hours, yes, sir.                      16· ·recollection of it.
17· · · · Q.· ·During the time period, 2017 to 2019, did     17· · · · Q.· ·During that time period, did United Inn
18· ·United Inn conduct a formal assessment, formal          18· ·monitor websites advertising sex for money?
19· ·risk -- assessment, excuse me, of the property?         19· · · · A.· ·I don't think so.
20· · · · A.· ·My understanding is they only did an          20· · · · Q.· ·During that time period, did United Inn
21· ·informal risk assessment of the property.               21· ·hold regular crime prevention meetings?
22· · · · Q.· ·And I think you've answered this, but to      22· · · · · · ·MR. ALLUSHI:· Objection.· Go ahead, Karim.
23· ·be clear, during that time period, based on your        23· · · · A.· ·I'm going to say no.· That's not something
24· ·interview of Mr. Shareef and your review of the         24· ·that I'm aware of being a practice in the hotel-type
25· ·documents, did United Inn conduct background checks     25· ·facilities.· That's something that's a practice


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